









Dismissed and Memorandum Opinion filed July 22, 2004









Dismissed and Memorandum Opinion filed July 22, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-04-00495-CV

____________

&nbsp;

IN THE
INTEREST OF Z.E.R.

&nbsp;



&nbsp;

On Appeal from the
247th District Court

Harris County,
Texas

Trial Court Cause No.
00-57032

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O
P I N I O N

This is an appeal from a judgment signed February 9,
2004.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On June 17, 2004, notification was transmitted to all parties
of the Court=s intent to dismiss the appeal for
want of prosecution unless, within fifteen days, appellant paid or made
arrangements to pay for the record and provided this court with proof of
payment.&nbsp; See Tex. R. App. P. 37.3(b).

Appellant filed no response.

Accordingly, the appeal is ordered dismissed.








&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed July 22, 2004.

Panel consists of Justices Yates,
Anderson, and Hudson.

&nbsp;





